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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                           CASE NO.:


     RYAN GEBAUER,

            Plaintiff,

     vs.

     HEATHER MANAGEMENT, CORP., d/b/a MANHATTAN CAFE,
     a Florida corporation,
     and ESPACIO MIAMI PROPERTIES, LLC., a Florida Corporation,

           Defendants.
     _________________________/


                                             COMPLAINT

     Plaintiff, Ryan Gebauer, (hereinafter the “Plaintiff”), through his undersigned counsel,

     hereby files this complaint and sues HEATHER MANAGEMENT, CORP., d/b/a

     MANHATTAN CAFE, a Florida corporation, and ESPACIO MIAMI PROPERTIES,

     LLC., a Florida Corporation , (hereinafter, collectively, referred to as the “Defendants”),

     for declaratory and injunctive relief, attorney’s fees, litigation expenses and costs

     (including, but not limited to, court costs and expert fees) pursuant to 42 U.S.C. § 12181,

     et. Seq. (Americans with Disability Act or ADA) and alleges:

                                   JURISDICTION AND VENUE

     1.     The Court is vested with original jurisdiction over this action pursuant to 28

     U.S.C. §1331 and §1343 for Plaintiff’ claims arising under 42 U.S.C. § 12181, et. Seq.,

     based on the Defendant’s violations of Title III of the Americans with Disability Act (see

     also, 28 U.S.C. §2201 and §2202).


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     2.      Venue is proper in this Southern Division Court pursuant to 28 U.S.C. §1391(B)

     and Rule 3.1 of the Local Rules of the United States District for the Southern District of

     Florida in that the events giving rise to this lawsuit occurred in Miami Dade County,

     Florida.

                                                PARTIES

     3.      Plaintiff, Ryan Gebauer, is a resident of Broward County in the State of Florida

     and is an individual with disabilities as defined by and pursuant to the ADA. At the time

     of the Plaintiff’s visit to MANHATTAN CAFE, the Subject Facility in this matter, and

     prior to instituting this action, the Plaintiff suffered from a “qualified disability” under the

     Americans with Disability Act and depended on a wheelchair for mobility. Ryan Gebauer

     is paralyzed due to a spinal cord injury and therefore the Plaintiff is confined to a

     wheelchair and is forced to use and depend on his wheelchair for mobility. Plaintiff, Ryan

     Gebauer, therefore has a “qualified disability” under the Americans with Disability Act.

     The Plaintiff personally visited MANHATTAN CAFE and encountered illegal barriers to

     access resulting in denial of full and equal access to the property and full and equal

     enjoyment of the facilities, services, goods, and amenities within MANHATTAN CAFE,

     which is the subject of this suit. Plaintiff lives in close proximity to the facility and

     intends on visiting the facility in the very near future. Plaintiff has suffered direct injury

     as a result of the Defendants’ actions or inactions described herein. Prior to instituting the

     instant action, the Plaintiff personally visited the Defendants’ Subject Facility and was

     personally limited by the barriers present at the Defendants’ Subject Facility. Such

     barriers constitute discrimination prohibited by the ADA. The Plaintiff will visit the

     premises in the imminent future to avail himself of the goods and services offered to the

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     public at the property but fears continued discrimination as a result of the ADA violations

     therein.

     4.     The Plaintiff intends to gain access into and use the Subject Facility,

     MANHATTAN CAFE, owned and/or operated by Defendant in the near future, as

     members of the able-bodied community are presently able to do, but has and will

     continually be denied such access as a result of the Defendant’s failure to comply with

     the ADA.

     5.     The Defendant, HEATHER MANAGEMENT, CORP., d/b/a MANHATTAN CAFE,

     a Florida Corporation, and ESPACIO MIAMI PROPERTIES, LLC., a Florida

     Corporation , are authorized to conduct and are conducting business within the State of

     Florida. The Defendant, HEATHER MANAGEMENT CORP d/b/a MANHATTAN CAFE,

     is a lessee and/or operator of the real property (hereinafter the “Subject Facility”), and the

     owner of the improvements where the Subject Facility which is the subject of this suit.

     The Subject Facility is located at 251 NE 14 STREET MIAMI FL 33132. Upon

     information and belief, ESPACIO MIAMI PROPERTIES, LLC. are the owners and

     lessors of the real property where the Subject Facility is located which is the subject of

     this action, the restaurant commonly referred to as MANHATTAN CAFE, located at 251

     NE 14 STREET MIAMI FL 33132 (hereinafter and heretofore the “Subject Facility”)

     which also maintains and controls the subject real property.

                             AMERICANS WITH DISABILITY ACT

     6.     On July 26, 1990, Congress enacted the Americans with Disability Act (“ADA”)




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     42 U.S.C. § 12181, et. Seq. in order to ensure equal opportunity for persons with

     disabilities in employment, State and local government services, public accommodations,

     commercial facilities, and transportation.

     7.         The congressional legislation provided commercial businesses one and a half

     years from the enactment of the ADA to implement the requirements imposed by the

     ADA. The effective date of Title III of the ADA was January 26, 1992, or January 26,

     1993 if the Defendant has ten (10) or fewer employees and gross receipts of $500,000 or

     less. 42 U.S.C. §12181, et. Seq; 20 C.F.R §36.508(a).

     8.         Congress found, among other things, that:

            i.         some 43,000,000 Americans have one or more physical or mental
                   disabilities, and this number shall increase as the population continues to grow
                   older;

          ii.          historically, society has tended to isolate and segregate individuals with
                   disabilities, and, despite some improvements, such forms of discrimination
                   against disabled individuals continue to be a pervasive social problem,
                   requiring serious attention;

          iii.        discrimination against disabled individuals persists in such critical areas as
                   employment,       housing,     public       accommodations,      transportation,
                   communication, recreation, institutionalization, health services, voting and
                   access to public services and public facilities;

          iv.          individuals with disabilities continually suffer forms of discrimination,
                   including outright intentional exclusion, the discriminatory effects of
                   architectural, transportation, and communication barriers, failure to make
                   modifications to existing facilities and practices. Exclusionary qualification
                   standards and criteria, segregation, and regulation to lesser services, programs,
                   benefits, or other opportunities; and,

           v.       the continuing existence of unfair and unnecessary discrimination and
                prejudice denies people with disabilities the opportunity to compete on an
                equal basis and to pursue those opportunities for which our country is
                justifiably famous, and costs the United States billions of dollars in
                unnecessary expenses resulting from dependency and non-productivity,
     42 U.S.C. §12101(a)(1)-(3), (5) and (9).

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     9.        Congress explicitly stated that the purpose of the ADA was to:

             i.        provide a clear and comprehensive national mandate for the elimination of
                   discrimination against individuals with disabilities;

           ii.         provide clear, strong, consistent, enforceable standards addressing
                   discrimination against individuals with disabilities; and,

           iii.     invoke the sweep of congressional authority, including the power to
                enforce the fourteenth amendment and to regulate commerce, in order to
                address the major areas of discrimination faced day-to-day by people with
                disabilities.
     42 U.S.C. §12101(b)(1)(2) and (4).

     10.       Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the

     Department of Justice, Office of the Attorney General, promulgated federal regulations to

     implement the requirements of the ADA. 28 CFR Part 36. Under the Americans with

     Disabilities Act Accessibility Guidelines (hereinafter “ADAAG”) the Department may

     obtain civil penalties of up to $55,000 for the first violation and $110,000 for any

     subsequent violation.

                  VIOLATIONS OF THE AMERICANS WITH DISABILITY ACT

     11.       Pursuant to 42 U.S.C. §12181(7) and 28 C.F.R. §366.104, MANHATTAN CAFE,

     is a place of public accommodation in that it is a restaurant which provides food and

     services to the public. Therefore, since the facilities that are the subject of this action are

     public accommodations as delineated and covered by the ADA, they must be in

     compliance with ADA.

     12.       On February 24, 2011 on or about the afternoon hours at around 2:00 PM, the

     Plaintiff visited Manhattan Cafe and purchased items. Plaintiff has full intention of

     returning in the near future.

     13.       The Defendants have discriminated, and continue to discriminate, against the

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     Plaintiff, and others who are similarly situated, by denying them full access and equal

     enjoyment of the building, goods, accommodations, and services due to the Defendants’

     failure to provide for Plaintiff’s equivalent participation in Defendant’s facilities, as

     prohibited by 42 U.S.C. §12182(b)(2)(A)(iv) and 42 U.S.C. §12101 & §1282 et. Seq..

     The Defendants further are in violation by failing to remove architectural barriers

     pursuant to 42 U.S.C. §12182(b)(2)(A)(iv), where such removal is readily accessible.

     14.         The Plaintiff desires to use the Defendants facility in the future but is precluded

     from doing so as a result of Defendant’s ADA violations set forth herein.

     15.         Defendant is in violation of 42 U.S.C. §12181 et seq., and 28 CFR 36.302 et. seq.,

     and is discriminating against the Plaintiff by failing to, inter alia, the following specific

     violations:

             i.     Modify interior and exterior doors to have accessible door hardware, widths,

                    opening resistances, thresholds, offsets, level maneuvering clearances, and

                    closing delays as prescribed by the ADA;

           ii.      Remove any obstructions from the walkways throughout the Subject Facility,

                    which is in violation of 28 C.F.R Part 36 Sections 4.3, 4.8, and 4.14;

           iii.     Modify entrance to include a handicap accessible ramp at the entry of the

                    Subject Facility that is compliant with the ADA; currently there is a step up in

                    front of the entrance in order to access the interior of the Subject Facility and

                    no ramp exists;

           iv.      Provide adequate compliant signage addressing people with disabilities to

                    notify them that accessible services are provided by Subject Facility as

                    required by 28 C.F.R. Part 36 Section 4.30.4;

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          v.    Provide a hostess stand/cashier desk that meets ADA standards; including but

                not limited to, the hostess stand/cashier desk located in the subject facility is

                higher than 36 inches above the finish floor in violation of the requirements of

                28 C.F.R Part 36, Section 5.2;

         vi.    Provide a cashier area that meets ADA standards; including but not limited to,

                the cashier desk located in the subject facility is higher than 36 inches above

                the finish floor in violation of the requirements of 28 C.F.R Part 36, Section

                5.2;

         vii.   Provide aisles that are wide enough and in compliance with ADAAG Secs 4.2

                and 4.3;

        viii.   Provide accessible seating floor that complies with American with Disability

                Act Accessibility Guidelines (hereinafter ADAAG) Secs. 4.32, 5.1, 5.2, 5.3,

                and 5.4 et seq.;

         ix.    Provide the required informational signage at the emergency exit located at

                Subject Facility;

          x.    Provide a safe accessible emergency exit at the rear of the subject facility in

                violation of 28 C.F.R Part 36;

         xi.    Provide an entrance ramp leading to the premises that has an ADA compliant

                slope currently there is a step up in front of the entrance in order to access the

                interior of the Subject Facility and no ramp exists;

         xii.   Modify restrooms to be accessible, including failing to:

                       i. Modify thresholds at entrance of the restroom as prescribed by the

                          ADA;

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                    ii. Remove any obstructions from the walkway to the restroom, including

                         but not limited to, a rug, which is in violation of 28 C.F.R Part 36

                         Sections 4.3, 4.8, and 4.14;

                    iii. Remove any obstructions from the walkway to the restroom, including

                         but not limited to, a refrigerator blocking the entrance of the restroom,

                         which is in violation of 28 C.F.R Part 36 Sections 4.3, 4.8, and 4.14;

                    iv. Provide the required informational signage on the restroom entrance as

                         required by 28 C.F.R Part 36, Section 4.3;

                    v. Modify restroom doors to have accessible door, widths, opening

                         resistances, thresholds, offsets, level maneuvering clearances, and

                         closing delays as prescribed by the ADA;

                    vi. Provide accessible door hardware in the restroom entrance/exit that

                         can be opened with a closed fist in violation of 28 C.F.R Part 36,

                         Section 4.23.9;

                   vii. Provide in the restroom entrance doors that meet the standards of the

                         ADA with regards to opening resistances and closing delays on

                         restroom doors;

                  viii. Provide accessible bathroom entrances due to the fact that the adequate

                         maneuverability room at the restroom entrance door is in violation of

                         the ADA since the door is unable to open to a 90º angle as required by

                         the ADA;

                    ix. Provide the maneuvering clearance at the entry way of the restroom as

                         prescribed by the ADA;

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                    x. Provide the maneuvering clearance at the route to the restroom as

                         prescribed by the ADA;

                    xi. Failure to provide the maneuvering clearance within the restroom as

                         prescribed by the ADA;

                   xii. Failure to provide the maneuvering clearance within the restroom as

                         prescribed by the ADA; currently, the restroom is used as storage

                         precluding the maneuverability room from being compliant with the

                         ADA standards;

                  xiii. Provide insulation for the exposed hot water and drain pipes under

                         lavatories to prevent dangerous conditions and serious burns in

                         violation of 28 C.F.R Part 36, Section 4.19.4;

                  xiv. Provide rear grab bar behind restroom toilet in violation of 28 C.F.R

                         Part 36, Section 4.17.6;

                   xv. Provide right hand grab bars that are at least 42 inches long consistent

                         with Standard § 4.17.6; Fig. 30(d);

                  xvi. Provide accessible soap dispenser as required by 28 C.F.R Part 36,

                         Section 4.16.6;

                 xvii. Provide accessible paper towel dispenser as required by 28 C.F.R Part

                         36, Section 4.16.6. The maximum height of the paper towel dispensers

                         cannot be more than 48 inches consistent with Standard § 4.27;

                 xviii. Provide accessible toilet paper dispenser as required by 28 C.F.R Part

                         36, Section 4.16.6;



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                   xix. Provide a lavatory with controls and operating mechanisms that can be

                          operable with one hand and shall not require tight grasping

     PARKING

         xiii.   Failure to provide the minimum number of handicap spaces at the Subject

                 Facility that comply with the requirements of 28 C.F.R. Part 36 Section 4.6.3,

                 and are located on the shortest route of travel to the Subject Facility’s main

                 entrance as required by 28 C.F.R. Part 36 Section 4.6.2; as well as a compliant

                 walkway from said handicap spaces to the Subject Facility’s main entrance;

         xiv.    Failure to provide one in every eight accessible spaces, but not less than one,

                 with an accessible 144 inch wide minimum, with the designation of “van

                 accessible”, as required by 28 C.F.R. Part 36 Section 4.6.4 and Section

                 4.1.2(5)(b);

          xv.    Modify the designated accessible parking spaces to connect directly to an

                 accessible route consistent with Standards §§ 4.3.2; 4.6.3;

         xvi.    Modify the access aisles of the designated accessible parking spaces so they

                 are demarcated consistent with Standard § 4.6.3;

        xvii.    Modify the designated accessible spaces so that one in every eight accessible

                 parking spaces conforms to the space requirement and is designated as “van

                 accessible” consistent with Standard § 4.1.2 (5)(b);

       xviii.    Ensure that designated accessible and “van accessible” spaces have

                 appropriate signage, and that the signs cannot be obscured by parked vehicles

                 consistent with Standard § 4.6.4;



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           xix.   Provide an accessible path of access, with a compliant ramp(s), from the

                  “accessible” parking space(s) to the Subject facilities

           xx.    Provide an accessible path of access, without excessive slopes and cross-

                  slopes, and which do not traverse vehicular traffic, from the Subject Facility;

           xxi.   Provide properly sized and configured accessible parking spaces, without

                  excessive slopes and/or cross-slopes, with complaint access aisles and/or with

                  compliant signage;

        xxii.     Provide an accessible path of access/route, without curbs, excessive changes

                  in level and/or excessive slopes to the Subject Facility.

     16.      Upon information and belief, there are other current violations of the ADA at

     Manhattan Cafe, and only after a full inspection is completed can all violations be

     identified. The above listing is not to be considered all-inclusive of the barriers,

     conditions or violations encountered by Plaintiff and/or which exist at the Facility.

     Plaintiff requires an inspection of the Facility in order to determine all of the

     discriminatory acts violating the ADA.

     17.      To date, the readily achievable barriers and other violations of the ADA still exist

     and have not been remedied or altered in such a way as to effectuate compliance with the

     provisions of the ADA.

     18.      Pursuant to the ADA, 42 U.S.C. §12101 et seq., and 28 CFR §36.304, the

     Defendants were required to make the Subject Facility, a place of public accommodation,

     accessible to persons with disabilities since January 28, 1992. To date, the Defendants

     have failed to comply with this mandate.

     19.      Plaintiff has sought and has been, continues to be, and in the future will, be denied

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     access to the benefits of services, programs, activities of the building and its facilities,

     and have otherwise been discriminated against and damaged by the Defendants, because

     of Defendants ADA violations set forth above, and will continue to suffer such

     discrimination, injury and damage without the relief provided by the ADA as requested

     herein. The barriers at the Subject Facility have effectively denied or diminished the

     Plaintiff’s ability to visit the property and have endangered his safety. Barriers at the

     property have posed a risk of injury to the Plaintiff, including but not limited to: physical

     injury, discomfort, and embarrassment.

     20.     Any and all requisite notice, if required, has been provided. Furthermore, such

     notice is not required as a result of Defendant’s failure to cure the violations by January

     26, 1992 (or January 26, 1993 if Defendant has 10 or fewer employees and gross receipts

     of $500,000 or less).

     21.     The Plaintiff has a realistic, credible, existing, and continuing threat of

     discrimination from the Defendants’ non-compliance with the ADA with respect to this

     Subject Facility as described but not necessarily limited to the allegations in paragraph 15

     of this Complaint.

     22.     The Plaintiff has been obligated to retain the undersigned counsel for the filing

     and prosecution of this action. The Plaintiff is entitled to have his reasonable attorney’s

     fees, costs, and expenses paid by the Defendants, pursuant to 42 U.S.C. §12205.

     23.     Counsel, in good faith, has conducted a search of case filings in the records of the

     Clerk of the United States District Court for the Southern District of Florida to ascertain

     whether the Defendant or the Defendant’s property has ever been sued prior to the filing

     of this suit for alleged violations for the same, similar, or any violations of the ADA. The

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     results of the search concluded that this Subject Facility has never been sued for

     Americans with Disability Act violations.

     24.      Pursuant to 42 U.S.C. 12188, this Honorable Court is vested with the authority to

     grant the Plaintiff’s injunctive relief; including an order to alter the subject facilities to

     make them readily accessible to, and useable by, individuals with disabilities to the extent

     required by the ADA, closing the subject facility until the requisite modifications are

     completed.



              WHEREFORE, the Plaintiff respectfully request that this Honorable Court find

     that the Defendant has been and continues to be in violation of the ADA and

     discriminating against the Plaintiff; and further requests judgment against the Defendants

     and requests the following injunctive and declaratory relief:

            I. That this Honorable Court declares that the subject property and facility owned,

                operated, leased, controlled by the Defendants is in violation of the ADA, and

                issue a permanent injunction enjoining Defendants from continuing its

                discriminatory practices;

           II. That this Honorable Court enter an Order requiring the Defendant’s to alter the

                subject premises as appropriate to comply with the ADA to make them

                accessible and usable by individuals with disability;

           III. That this Honorable Court order the subject premises closed to the public until

                the requisite modifications are completed to the full extent required by Title III

                of the ADA;



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          IV. That this Honorable Court award reasonable attorney’s fees, all costs (including

               but not limited to litigation expenses, court costs, and expert fees) and other

               expenses of suit, to the Plaintiff;

          V. That this Honorable Court retain jurisdiction to assure Defendant’s subsequent

               compliance with the ADA and protect against similar subsequent discrimination

               by Defendant; and

          VI. That this Honorable Court award any such relief as it deems necessary.



                                                                              Respectfully submitted,

                                                                      The Shemtov Law Firm, P.A.
                                                                              Attorney for Plaintiff

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                                                                            Dated: October 25, 2011.




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